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12

13                        UNITED STATES DISTRICT COURT
14               FOR THE SOUTHERN DISTRICT OF CALIFORNIA
15

16   IN RE INCRETIN-BASED                      Case No. 14-cv-00360-AJB-MDD
     THERAPIES PRODUCTS LIABILITY
17   LITIGATION                                Lead Case:
                                               MDL Case No. 13-md-2452-AJB-MDD
18

19   DIANE CELESTE, et al.,                    NOTICE OF ERRATA AND
                                               CORRECTION TO MERCK
20                   Plaintiffs,               SHARP & DOHME CORP.’S
     v.                                        OPPOSITION TO MOTION TO
21                                             REMAND
     MERCK SHARP & DOHME CORP., et
22   al.,
                                               Date:       June 13, 2014
23                   Defendants.               Time:       1:00 p.m.
                                               Courtroom: 3B
24                                             Judge:      Hon. Anthony J. Battaglia
                                               Magistrate: Hon. Mitchell D. Dembin
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                                                 Case No. 14-cv-00360-AJB-MDD
                                   NOTICE OF ERRATA
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1            TO THE COURT AND TO ALL PARTIES AND THEIR RESPECTIVE
2    ATTORNEYS OF RECORD:
3            PLEASE TAKE NOTICE that Defendant Merck Sharp & Dohme Corp.
4    (“Merck”) hereby provides notice of errata and correction as follows:
5            Merck’s Opposition to Motion to Remand, filed on March 19, 2014, contains an
6    error at page 14, lines 4 through 6, mistakenly using the term “defendants” where
7    “parties” should have been used.
8            The original sentence reads: “Courts that have refused to sever misjoined
9    defendants under the fraudulent misjoinder doctrine recognize that defendants could
10   successfully remove once they persuade the state court to sever the nondiverse
11   defendant.” (emphasis added here, in errata).
12           The sentence should read: “Courts that have refused to sever misjoined parties
13   under the fraudulent misjoinder doctrine recognize that defendants could successfully
14   remove once they persuade the state court to sever the nondiverse parties.” (emphasis
15   added here, in errata).
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                                           1        Case No. 14-cv-00360-AJB-MDD
                                      NOTICE OF ERRATA
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1         A corrected copy of Merck’s Opposition to Remand is attached as Exhibit A.
2

3    Dated:   June 12, 2014
                                      s/ Vickie E. Turner
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                                       2        Case No. 14-cv-00360-AJB-MDD
                                  NOTICE OF ERRATA
